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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   UNITED STATES OF AMERICA,

10                                 Plaintiff,             CASE NO. CR15-120-JCC

11          v.
                                                          DETENTION ORDER
12   YEN T. VU,

13                                 Defendant.

14

15   Offense charged:      Conspiracy to Distribute Controlled Substances; Forfeiture Allegation

16   Date of Detention Hearing:    May 8 , 2015.

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18   based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19   that no condition or combination of conditions which defendant can meet will reasonably assure

20   the appearance of defendant as required and the safety of other persons and the community.

21           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.      Defendant has been charged with a drug offense, the maximum penalty of which

23   is in excess of ten years. There is therefore a rebuttable presumption against defendant as to both

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 1   dangerousness and flight risk, under 18 U.S.C. § 3142(e).

 2            2.      Defendant is a native and citizen of Vietnam and is allegedly in this country

 3   illegally, having overstayed a temporary visa which expired in 2014.          Although defendant

 4   designated her husband to verify her background information, he was unable to do so with regard

 5   to much of the information. There are also discrepancies regarding her residence during the time

 6   encompassed in the investigation which led to the filing of the instant charges. The AUSA

 7   indicates that ICE has filed or will be filing an immigration detainer, asking that the defendant be

 8   deported.

 9            3.      Taken as a whole, the record does not effectively rebut the presumption that no

10   condition or combination of conditions will reasonably assure the appearance of the defendant as

11   required and the safety of the community.

12   It is therefore ORDERED:

13         1. Defendant shall be detained pending trial and committed to the custody of the Attorney

14            General for confinement in a correction facility separate, to the extent practicable, from

15            persons awaiting or serving sentences or being held in custody pending appeal;

16         2. Defendant shall be afforded reasonable opportunity for private consultation with counsel;

17         3. On order of the United States or on request of an attorney for the Government, the person

18            in charge of the corrections facility in which defendant is confined shall deliver the

19            defendant to a United States Marshal for the purpose of an appearance in connection with

20            a court proceeding; and

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22   ///

23   ///

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 1     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel for

 2        the defendant, to the United States Marshal, and to the United State Pretrial Services

 3        Officer.

 4        DATED this 8th day of May, 2015.

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 6                                                      A
                                                        Mary Alice Theiler
 7                                                      United States Magistrate Judge

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